     Case 2:20-cr-20517-DPH-DRG ECF No. 19, PageID.71 Filed 04/06/21 Page 1 of 3



                                      UNITED STATES DISTRICT COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                                         Plaintiff,

vs                                                                        Cr. No. 20-20517
                                                                          HON. DENISE PAGE HOOD

STEPHEN SHIPPS,

                             Defendant.
________________________________/


                  SECOND STIPULATION REGARDING CONDITIONS OF PRETRIAL RELEASE

          On October 29, 2020, at Defendant’s initial appearance, the Magistrate Judge issued an order of

pretrial release that included the conditions that Defendant not travel outside of the Eastern District of

Michigan (condition 7(g)), and that he have no contact with persons under the age of 18 (condition

7(w)). (ECF No. 7.) By Order dated December 3, 2020, the Court modified the travel condition to

permit Defendant to travel for purposes of providing emergency assistance to his 94 and 91 year old

parents. (ECF No. 13.)

          The parties now stipulate as follows:

     1.   In view of the fact that Defendant has the Power of Attorney for his parents’ affairs, Defendant

          may travel outside of the Eastern District of Michigan, without prior approval, to monitor and/or

          provide whatever assistance is necessary or appropriate to his parents in Indiana, or, in the event

          of either of their deaths, to make customary funeral and burial arrangements. However,

          Defendant shall inform Pre-Trial Services of his travel and anticipated itinerary, in advance or,

          in an emergency, contemporaneously with it.

     2.   Defendant’s daughter gave birth to a child on November 12, 2020. That child’s Baptism will

          occur in Indianapolis, IN on April 11, 2021, at which Baptism minor children will be present

          (including other grandchildren of Defendant). Defendant may attend the Baptism and have

          contact with the minor children, so long as such contact occurs publicly and in the presence of

          at least one other adult.
    Case 2:20-cr-20517-DPH-DRG ECF No. 19, PageID.72 Filed 04/06/21 Page 2 of 3



        The parties represent to the Court that Pretrial Services Officer Michael Mitchell does not object

to either of the stipulations set forth above.



IT IS SO STIPULATED.



s/Sara D. Woodward (w/permission)                         s/John A. Shea _________
Assistant U.S. Attorney                                   Attorney for Defendant
211 W. Fort St., Ste. 2001                                120 N. Fourth Avenue
Detroit, Michigan 48226                                   Ann Arbor, Michigan 48104
(313) 226-9180                                            (734) 995-4646
sara.woodward@usdoj.gov                                   jashea@earthlink.net

DATED: March 17, 2021                                     DATED: March 17, 2021
     Case 2:20-cr-20517-DPH-DRG ECF No. 19, PageID.73 Filed 04/06/21 Page 3 of 3



                                        UNITED STATES DISTRICT COURT
                                        EASTERN DISTRICT OF MICHIGAN
                                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                                           Plaintiff,

vs                                                                             Cr. No. 20-20517
                                                                               HON. DENISE PAGE HOOD


STEPHEN SHIPPS,

                             Defendant.
________________________________/


                            ORDER MODIFYING CONDITIONS OF PRETRIAL RELEASE

          The Court has considered the parties’ stipulation to modify Defendant’s conditions of pretrial

release, and for the reasons stated therein, IT IS ORDERED that the Order Setting Conditions of

Pretrial Release, ECF No. 7, PageID. 7, is hereby is modified as follows:

              1.   Condition 7(g) is modified to permit Defendant to travel outside of the Eastern District

                   of Michigan, without prior approval, to monitor and/or provide whatever assistance is

                   necessary or appropriate to his parents in Indiana, or, in the event of either of their

                   deaths, to make customary funeral and burial arrangements. Defendant shall inform Pre-

                   Trial Services of his travel and anticipated itinerary, in advance or, in an emergency,

                   contemporaneously with it.

              2.   Defendant may attend his grandchild’s Baptism on April 11, 2021, and have contact

                   with minor children in connection with that event, so long as such contact occurs

                   publicly and in the presence of at least one other adult.

          In all other respects, the Order Setting Conditions of Pretrial Release remain in full force and

effect.
          Dated: April 6, 2021                            s/Denise Page Hood
                                                          Chief Judge, United States District Court
